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Exhibit B
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September 4S, 2020
Barry Szule
2930 W Sth Street Apt. 19K
Brooklyn NY 11224
646-232-7726
BSzule@aol.com

Affidavit
To Whom It May Concern.

Tam writing this letter on the relerence of Piotr Grabowski.

Piotr has been my client and a fanily friend for over LO years. Lhave my own accounting office
where Piotr has been filing his taxes for a very long, time.

It’s been a pleasure to work with him. [He is a very easy going person and extremely family
oriented, on several occasions | met his sons. We enjoys spending, ime with them as his faniily is
a priovity.

Over the years our connection became very close and [| was offen guest al Piote’s house. The
atmosphere was always very happy and Piotr plays a big role as a wonderful example to his kids.
Hi is passionate and ambition human being and there is always a pleasure to work with him.
Please feel free to contact me for any further information.

State of New York )

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babe 2020
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NOTARY PUBLIC-STATE OF NEW YORK
No. 01LE6189388
Qualified in County
= My Commission Expires 06-23-2

  
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Michael Mendelsohn
189 Henry Street
Greenwich, CT 06830

Affidavit
September 14, 2020

To Whom it May Concern,
Re: Piotr Grabowski

I met Piotr (Peter) about 2 years ago when I first started dating his sister Margaret. Not long after, I moved
in to live with Margaret, and I became a neighbor to Peter and his family. Margaret has always said she was

close with Peter and it only took a few weeks as Peter’s neighbor for me to understand why.

Although I felt like outsider to the family, Peter went out of his way to make me feel comfortable, always
greeting me with a bright smile, and ready to drop everything he was doing to lend me a hand moving a

couch or helping me finish a DIY project.

The Peter I grew to know is a devoted, loving husband who never missed 5pm dinner and can be found
every night spending quality time with his wife Barbara in their home. A family man who leaves for work
at crack of dawn to a demanding 12-hour day as contractor, but is never be too tired return home to play

tag with his young children Thomas and Petey or kick around a soccer ball with his teenager Kacper.

Thank you for the opportunity to support my friend Peter Grabowski.

hhh Wis ddeote

Michael Mendelsohn

Sworn (or Affirmed) to before me

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September Af. , 2020
Anna Maniowska
36 Betts Ave
Stamford, CT 06902
aniask8 1@yahoo.com
914.523.7069

Affidavit
To Whom it May Concern,
I am writing this letter on behalf of Piotr Grabowski.
Piotr and his family have been my dearest friends for over 7 years.
We met when I used to live in Greenwich and we were very close neighbors. We visited each
other on several occasions and spent many birthdays and holidays together.
When my mother was visiting me in the U.S., Piotr would help her anytime she needed him
while I was traveling for work.
After I gave birth to my daughter Gabriella we spent countless hours at Piotr’s house. Our
youngest kids have been friends since they were born. Because I am a single mom | received
help from Piotr and his family on many occasions to take care of my daughter, including having
her picked up from daycare. My daughter knows Piotr very well and even calls him her uncle.
Piotr is a hardworking person who always puts his family first. He is an amazing father to his
three boys: Kacper, Thomas and Peter. | have always been welcomed at their house along with
my daughter who is turning 5 in three weeks. We were planning a birthday party and Piotr and
his family were the only guests due to the pandemic.
I highly trust Piotr as he has played a big role in my daughter’s life after her father abandoned

her.
ttt

Sincerely,
Sworn (or Affirmed) to before me
vor gt img

‘/Y of bbe. 2020

Anna Maniowska

   
 

  
  

   

 

 

 
    
      

Lynda Derenzis
Notary Public-Connecticut
My Commission Expires
November 30, 2024

 

 

 
 

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Lukasz and Sarah Dec
23 Sleepyhollow Dr
Norwalk, CT 06851

Lukas.dec(@gmail.com

203-856-6710

September AY 2020

Affidavit

To Whom It May Concern,

Piotr Grabowski is an example of what ever man should strive to be. He is a hardworking
individual that puts the priorities of his family above everything else but is always willing to help
someone in need. We met Piotr and his family through my parents but always considered him not
only a friend but also a role model.

As a new father I was able to turn to Piotr for advice on how to raise my own son. I
witnessed firsthand of what a wonderful job he has done with his three boys. They look up to him
and recognize that everything Piotr has done is in their best interest. He is a present father and is
very gentle and patient which can be a challenge when dealing with a house of three energetic
‘boys.

Throughout the years that we have known Piotr we have spent many holidays together. He
has always made us feel as if we were relatives and always welcomed us to his home with warmth
and a smile. Piotr has always been there when it came to major life milestones in our lives. He

helped us with set up during our wedding and was a calm presence that made us remember what

 

 
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was truly important that day. When my wife was pregnant, Piotr helped out with out gender reveal
/

party, he was willing set up the confetti canons so that we could cherish the moment when we
found out that we were having a baby boy. At our baby shower he showed up early and helped set
up the catering event thought we didn’t ask for the help. He is the type of person that is always
thinking’ ahead and anticipates what is needed. No job is beneath him and he is always ready to
lend a hand.

Piotr is someone that we can always count on and I know we are not the only ones that feel
this way about him. He is selfless, caring, supportive and driven, all characteristics that make him

a wonderful father and friend.

Thank you.

J yah Dee.

Sarah Dec

Sworn (or ee. before me

this / iW" day of > ph wile/2020

\Aua Tos
Notary Public

 

  

VARSHA TRIVEDI
Notary Public, State of Connecticut
My Commission Expires Aug. 31, 2024

   

‘Lukasz Dec

 

 

 

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Notary Public

 

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1. Notary Public, State of Connecticut
rae My Commission Expires Aug. 31, 2024

 

 

 

 
Case 3:20-mc-00068-WIG Document 17-2 Filed 10/27/20 Page 7 of 12

September |4_, 2020
Irena and Stanislaw Dec
14 Assisi Way
Norwalk, CT 06851
203-984-3727

Affidavit
To Whom it May Concern,

We met Piotr Grabowski in 2005 when we were doing an addition on our house. He
was one of the framers that the contractor hired for the job. We started to talk and learned
that he was from the same region of Poland. While he was working on our house, we saw
firsthand how dedicated, driven and meticulous he was. His work ethic impressed us, and
we asked if he would be willing to help us out on our remodeling project. We spent a lot
of time working together and became good friends. We always valued his expertise and

knowledge and whenever we needed help, he was there.

Piotr’s goal was to make sure that his family had a bright future and a better life
than he did. While he worked very hard, he always found time for his children and tried to
spend as much time with them as possible. Piotr valued education and wanted to make sure

his boys were able to live in a good area with good school system.

Piotr is very responsible and respectful. He works hard to provide for his family and
came to the USA for the opportunity to live a life that he would not be able to have in his

home country.

 
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Thank you.

Sworn (or Affirmed) to before me

this 14 day of Sepkmber , 2020

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Notary Public

 

Sworn (or Affirmed) to before me

this )}4 day of _Supkmber , 2020

oe

Notary Public

 

DANIEL A MAZARIEGO
NOTARY PUBLIC
CONNECTICUT
MY COMMISSION EXPIRES OCT. 31, 2022

 

 

 

 

Filed 10/27/20 Page 8 of 12

Trena Dec

BVebo Mec

Stanislaw Dec

State of Connechust County of _ Fair Fuld
Subscribed and sworn before me on _9 At bho
_Dewial fl Meaoieyy “72 AP

(Notary Signature) =~

 
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Tomasz and Ewelina Galas
20 Tanager Ln

Trumbull, CT 06611
203-912-8682

Affidavit

We are writing a reference letter in support of Piotr Grabowski, and we stand behind everything
that we have said in this letter. We have known Piotr for over a decade. My husband met him in 2006 when
both worked on renovating the same property in Greenwich, CT. They developed a solid friendship over
the past years, and Piotr has been the person we can always count on. They also belong to the same soccer
club and meet on every Sunday to play. In addition, when we bought our first home, he was helping us with
the major renovation in the house, as well as moving. Piotr Grabowski is our great family friend. He is very
generous and kind. We know that he treats every person with respect, and our relationship is as we are
family members. He has always been a very responsible and reliable person. He is married and loves his
three children. He is dedicated husband and father. Furthermore, we really consider him as a nice person,
and responsible businessman. After spending some time with him, we know he is hardworking and caring

person overall.

It is a great honor to consider him to be a great friend. Please do not hesitate to contact us for any

further information.

Sincerely,

(Loh

Tomasz Galas

  

 

554 MARY B. WALSH
Sica NOTARY PUBLIC STATE OF CONNECTICUT JL
ee My Commussion Expires August 31 2022

 

 

 

 
 

 

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Case 3:20-mc-00068-WIG Document 17-2 Filed 10/27/20 Page 10 of 12

Cour’

Ewelina Galas

Sworn (or Affirmed) to, before me

this ie day of

   

Notary Public

 

MARY B. WALSH _
NOTARY PUBLIC STATE OF CONNECTICUT
My Commission Expires August 31 2022

 

 

 

 

 

 
Case 3:20-mc-00068-WIG Document 17-2 Filed 10/27/20 Page 11 of 12

Michael J. Rychlik
3 Hackett Cir W 3A /
Stamford, CT
( 203 ) 561-9681

mikerychlik@gmail.com

September /¥”, 2020
To Whom It May Concern,
lam writing this letter on behalf of Piotr Grabowski. | am a 4" generation US Citizen with some
Polish heritage.
Piotr reminds me of a young version of my grandfather. He has the ties to his Polish roots but is
completely assimilated to life in the USA. He is a family man with strong moral values. He works
hard to support his family and is an expert carpenter. On numerous occasions | have seen Peter
in action. Working hard as a framer and showing concern for his fellows. He is an example for
others.
There are times when would call Piotr at 8:30 or 9:00 PM and not get an answer. | would find out
the next day that he was already in bed. He rises at sunrise with his small children and is
exhausted by the end of the day due to the demanding work. His work ethic is probably one of
the best I’ve seen and | am almost 60 years old and have been in the construction business since
1980. He is a hard worker and a family man.
| also have met Piotr’s family. His wife Barbara and his three children. They are a wonderful happy
family.
They are all very close with Piotr because when he’s not working, he is always at home with them.
I’ve had the pleasure of being at their house and enjoying some home made Polish food that |

miss from when | was a kid.

 
 

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Anyway, | hope | could be of some help to Piotr and his family in the future. | think that the way
df
these people are, and the way they treat and respect others, they deserve a break in life.

Hopefully with all of our prayers things will work out for them.

Sincerely,
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ac Rychlik ,

Sworn (or Affirmed) to before me

this |4 day of Sep en} <¥ 2020
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NOTARY PUBLIC

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